KTF:BT
F. #2024R00934

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA COMPLAINT
- against - (18 U.S.C. § 2199)
SVETLANA DALI Magistarte Judge Robert Levy
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

IAN S. CRYSTAL, being duly sworn, deposes and states that he is a Special
Agent with the Federal Bureau of Investigation, duly appointed according to law and acting as
such.

On or about November 26, 2024, within the Eastern District of New York and
elsewhere, the defendant SVETLANA DALI did knowingly and with intent to obtain
transportation board, enter, and secrete herself aboard an aircraft, to wit, Delta flight number
DL264 departing from John F. Kennedy International Airport (“JFK”) in Queens, New York to
Charles de Gaulle Airport in Paris, France, without the consent of the owner, charterer, master,
and person in command of such aircraft, and was thereon at the time of departure of said aircraft

from an airport within the jurisdiction of the United States.

(Title 18, United States Code, Section 2199)
The source of your deponent’s information and the grounds for his belief are as
follows:!

1. I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and
have been since 2010. I am currently assigned to the FBI’s JFK Field Office, where ] am on the
Joint Terrorism Task Force and investigate crimes occurring on aircraft, among other crimes.
JFK is in Queens, New York, which is within the Eastern District of New York.

2. I am familiar with the facts and circumstances set forth below from my
participation in the investigation; my review of the investigative file, including security footage
from JFK; and from reports of other law enforcement officers involved in the investigation.
Statements attributable to individuals referenced herein are set forth in sum and substance and in
part.

PROBABLE CAUSE

3. On or about November 26, 2024, the defendant SVETLANA DALI snuck
onto Delta Airlines flight DL264 at JFK without a boarding pass and flew as a stowaway to
Charles de Gaulle Airport in Paris.

4. I have reviewed surveillance footage from JFK, which shows that the
defendant SVETLANA DALI arrived at JFK Terminal 4 at approximately 8:13 p.m. on or about
November 26, 2024. At approximately 8:24 p.m., DALI attempted to get in line at the
Transportation Security Administration (“TSA”) security checkpoint in Terminal 4 but was

turned away by a TSA official after she was unable to show a boarding pass.

! Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, [ have not described all the relevant facts and circumstances of
which I am aware.
5. At approximately 8:29 p.m., the defendant SVETLANA DALI again
attempted to get in line at the TSA security checkpoint in Terminal 4. This time, DALI
successfully accessed the line without a boarding pass by entering through a special lane for
airline employees masked by a large Air Europa flight crew. DALI was subsequently screened
by TSA alongside ticketed airline passengers.

6. After being screened by TSA, the defendant SVETLANA DALI walked to
gate B38, where she boarded Delta flight number DL264 at approximately 10:03 p.m. without
presenting a boarding pass. Delta agents, who were busy helping ticketed passengers board, did
not stop her or ask her to present a boarding pass before she boarded the plane.

7. Delta flight number DL264 departed JFK with the defendant SVETLANA
DALI on it at 10:37 p.m. Before the plane landed at Charles de Gaulle Airport, Delta
employees realized that DALI was onboard the plane without their consent. Upon realizing this,
the employees asked DALI for her boarding pass, which she was unable to provide. Before the
flight landed, Delta employees notified French law enforcement that DALI was on the plane as a
stowaway.

8. When the plane landed at Charles de Gaulle Airport on or about
November 27, 2024, French law enforcement met the defendant SVETLANA DALI at the gate.
After determining that DALI did not have a passport or boarding pass with her, they detained her
before she entered customs.

9, On December 4, 2024, the defendant SVETLANA DALI flew back to
JFK from Charles de Gaulle Airport. Upon DALI’s arrival at JFK, law enforcement escorted
her from the gate to an interview room at the airport, where I interviewed her with other law

enforcement agents.
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10. During her interview, the defendant SVETLANA DALI admitted to flying
as a stowaway on Delta flight number DL264. Among other things, she stated that she did not
have a plane ticket and that she intentionally evaded TSA security officials and Delta employees
so that she could travel without buying one, including by looking for opportunities to circumvent
them when she knew they would ask for her boarding pass. When I showed DALI images from
airport security footage that depicted her bypassing TSA officials and Delta employees who were
supposed to check for her boarding pass, she confirmed that the images were of her. She also
stated that she knew her conduct was illegal.

WHEREFORE, your deponent respectfully requests that the defendant
SVETLANA DALI, be dealt with according to law.

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IAN S. CRYSTAL
Special Agent, Federal Bureau of Investigation

Sworn to before me this
5 day of December, 2024

T mE:
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
